                   Case 15-11660-KG           Doc 609        Filed 10/07/16        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
In re:                                                       Chapter 11

ZLOOP, INC., et al., 1                                       Case No. 15-11660 (KJC)

                        Debtors.                             (Jointly Administered)
                                                             Re: D.I. 568

      PLAN SUPPLEMENT TO DEBTORS' MODIFIED COMBINED DISCLOSURE
         STATEMENT AND JOINT CHAPTER 11 PLAN OF LIQUIDATION

       PLEASE TAKE NOTICE THAT ZLOOP, Inc., and certain of its subsidiaries, as
debtors and debtors in possession (collectively, the “Debtors”), by and through their attorneys,
DLA Piper LLP (US), hereby file this Plan Supplement (the “Plan Supplement”) in connection
with the Debtors' Modified Combined Disclosure Statement and Joint Chapter 11 Plan of
Liquidation, dated as of September 2, 2016 [D.I. 568] (as the same may be further modified,
amended, and/or supplemented from time to time, the “Plan”).2

       PLEASE TAKE FURTHER NOTICE that this Plan Supplement includes a form of the
following documents, as the same may be modified, amended, and/or supplemented from time to
time:

                  EXHIBIT A—Amended Bylaws
                  EXHIBIT B—Identity of Plan Administrator
                  EXHIBIT C—Engagement Letter with Plan Administrator
                  EXHIBIT D—Drafts of Motion to Substitute Counsel and Transfer Mosing
                   Litigation and related documents
                  EXHIBIT E—Letter From CRO Terminating Professionals and Transferring
                   Privilege to Plan Administrator
                  EXHIBIT F—Schedule of Retained Causes of Action
                  EXHIBIT G—Schedule of Contracts to Be Assumed and/or Assigned Under
                   Plan

        PLEASE TAKE FURTHER NOTICE that the forms of the documents contained in
this Plan Supplement are integral to, and are considered part of, the Plan, but remain subject to
final agreement and execution by the parties thereto. If the Plan is approved, the documents

1
         The Debtors in these Chapter 11 Cases and the last four digits of each Debtors’ federal tax identification
         numbers are: ZLOOP, Inc. (2960); ZLOOP Nevada, LLC (7516); and ZLOOP Knitting Mill, LLC (7098).
         The location of the Debtors’ headquarters and the service address for each of the Debtors is 816 13th Street
         NE, Hickory, NC 28601.
2
         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
         Plan.



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                   Case 15-11660-KG   Doc 609    Filed 10/07/16     Page 2 of 2



contained in this Plan Supplement will be approved by the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”) pursuant to the order confirming the Plan.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to alter,
amend, modify, and/or supplement any document in this Plan Supplement as provided by the
Plan, provided that if any document in this Plan Supplement is altered, amended, modified
and/or supplemented in any material respect, the Debtors will file a blackline of such document
with the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that the Debtors will seek confirmation of the
Plan at a hearing scheduled for October 25, 2016 at 2:00 p.m. (ET), before the Honorable
Kevin J. Carey, United States Bankruptcy Judge, in Courtroom #5 of the United States
Bankruptcy Court for the District of Delaware, 824 North Market Street, 5th Floor, Wilmington,
Delaware 19801.

           Dated: October 7, 2016
           Wilmington, Delaware                    Respectfully submitted,

                                                   DLA PIPER LLP (US)

                                                    /s/ Daniel N. Brogan
                                                   Stuart M. Brown (DE 4050)
                                                   R. Craig Martin (DE 5032)
                                                   Daniel N. Brogan (DE 5723)
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                                                   Counsel to Debtors and Debtors in Possession




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